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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MARYLAND

Patricia Collims *
34 Clover Street
Johnstown, PA 15902 *
Plaintiff *
VS. * CIVIL ACTEON NO.:
Juan Arrisueno, M.D. *
12501 Willowbrook Road
Suite G?G *

Cumberland, MD 21502
And

Juan Arrisuen©, M.D., P.A.

12501 Willowbrook Road *

Suite 670

Cumberiand, MD 22502 *
Serve cn:

SUan Arrisueno, M.D. *

12501 Willowbro©k Road

Suite 670 *

Cumberland, MD 21502
AHd

Western Maryland H@alth Syst@m
Corporation, SuCC@SSOr in interest *
to WMHS Braddock HOSpital Corporation
and Sacred Heart HOSpita} O§ the *
Sisters Of Chazity, lnc.

§2400 Willowbrook Road *
Cumberland, MD 21502

S@rve On: *
ReSident Aqent
Jeffrey S. Get§y, Esq. *
Geppert, McMullen, Paye & Getty
21 PrQSpeCt Square *

Cumbe§land, MD 21502

And

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WMHS Braddock HOSpita§ Corporatien

12400 Willowbreok Road *
Cumber§and, MD 21502

Serve On: *
Resident Agent
Jeffrey S. Getty, Esq. *
Geppert, McMullen, Paye & Getty
21 PrOSpect Square *

Cumberland, MD 21502
And

Sacred Heart Hospital er the

Sisters Of Chariry, Inc. *

990 Seton Drive

Cnmberland, MD 21502 *
Serve On:

Resident Agent *

Jeffrey S. Getty, Esq.

Geppert, MCMullen, Paye & Getty *

21 Prespect Square

Cumberland, MD 21502 *
Sefendants *

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COMPLAINT AND ELECTION FOR JURY TRIAL

 

Plaintiff, Patricia Colline, by and through her undereigned
attorneye, hereby ames Sefendantez Juan Arrieuene, M.D.; Juan
Arriaueno, M.D., P.A.; Western Maryiand Health Syetem
Corporation, Succeasor in interest to WMHS graddock Hoepital
Corperarion and Sacred Heart Hoepital cf the Sistere cf Charity,
Inc.; WMHS Braddock Hoepital COrpOratiOn; and Sacred Heart
Hospital Of the Sisters Of Charity, Inc., and etates the

fellewing as her Cause Gf action:

 

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1. This Court has subject matter jurisdiction of this
matter pursuant to 28 U.S.C. Section 1332 hy' virtue of the
diversity of citizenship of the parties and because the matter
in controversy exceeds the sum or value of $?5,000.00, exclusive
of interest and Costs.

2. Venue is proper under 28 U.S.C. Section 1391 in that a
substantial part of the events which give rise to this claim
occurred in Alleghany County in the State of Maryland.

3. This action was originally filed in the Health Care
Alternative Dispute Resolution Office of` Maryland cna Aprii 5,
2012. Certificates of Qualified Expert and Reports were filed
on October iO, 2012, copies of which are attached hereto as
Exhihit A. On November 29, 2922, Plaintiffs filed an Eiection
to Waive .Arbitration, with, the Health Care .Aiternative Dispute
Resolution Office of Maryland, a copy of which is attached
hereto as Exhibit B. On December 3, 2612, the Health Care
Alternative Dispute Resolution Office of Maryland issued an
Order of Transfer, a copy of which is attached hereto as Exhihit
C.

§. Plaintift, Patricia Collins, is a citizen and resident
of JOhnstown, Pennsylvania, residing at 34 Clover Street,

Jchnstown, Pennsylvania.

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5. At all times material hereto, Defendant, Juan
Arrisueno, M.D., was and is a citizen of the State of Maryland,
and is a physician licensed to practice medicine in the State of
Maryland. Dr. Arrisueno was and is board certified in surgery,
and was, in fact a practicing medical doctor and surgeon in
Alleghany Ccunty, Maryland. Br. Arrisueno undertook to provide
health care services to the Plaintiff, Patricia Collins,
relative to her care and treatment.

6. At all times material hereto, Defendant, Juan
Arrisueno, M.D., P.A., was and is a corporation, organized and
existing under the laws of the State of Maryland, and a
Defendant, with its principal place of business in Alleghany
County, Maryland, carrying on a regular business, located at
l2502 Willowbrook Road, Suite 670, Cumberland, Maryland, 21502.
Said Defendant was and is an entity whose agents, servants,
employees, subsidiaries, and divisions undertook to provide
services to the Plaintiff, Patricia Collins,r relative to her
care and treatment, and is subject to the jurisdiction of the
Courts of the State of Maryland, and the United States District
Court for the District of Maryland.

T. At all times material hereto, Western Maryland Health
System Corporation, successor in interest to WHMS Braddock

Hospital Corporation and Sacred Heart Hospital of the Sisters of

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Charity, Inc., was and is a corporation, organized and existing
under the law of the State of Maryland, and a health care
provider, with its principal place of business in Alleghany
County, Maryland, carrying on a regular business, located at
‘12§00 Willowbrook Road, Cumberland, Maryland, 21502. Said
Defendant was and is a corporation whose agents, servants,
employees, subsidiaries, and divisions undertook to provide
services to the Plaintiff, Patricia Collins, relative to her
care and treatment, and is subject to the jurisdiction of the
Conrts of the State of Maryland, and the United States District
Court for the District of Maryland.

8. At all times material hereto, Defendant, WMHS Braddock
Hospitai Corporation, was and is a corporation, organized and
existing under the law of the State of Maryland, and a health
care provider, with its principal place of business in Alleghany
County, Maryland, carrying on a regular business, located at
12400 Willowbrook Road, Cumberland, Maryland, 21502. Said
Defendant was and is a corporation whose agents, servants,
employees, subsidiaries, and divisions undertook to provide
services to the Piaintiff, Patricia Collins, relative to her
care and treatment, and is subject to the jurisdiction of the
Courts of the State of Maryland, and the United States District

Court for the District of Maryland.

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9. At all times material hereto, Defendant, Sacred Heart
nospital of the Sisters of Charity, lnc., was and is a
corporation, organized and existing under the law of the State
of Maryland, and a health care provider, with its principal
place of business in Alleghany County, Maryland, carrying on a
regular business, located at 900 Seton Drive, Cumberland,
Maryland, 21502. Said Defendant was and is a corporation whose
agents, servants, employees, subsidiariesr and divisions
undertook to provide services to the Plaintiif, Patricia
Collins, relative to her care and treatment, and is subject to
the jurisdiction or the Courts of the State of Maryland, and the
Gnited States District Court for the District of Maryland.

iG. At all times material hereto, Dr. Arrisueno was an
actual, implied, ostensible, and/or apparent agent, servant,
and/or employee, and was acting within the course and scope of
his agency and/or employment with: duan Arrisueno, M.D., P.A.;
Western Maryland Health System Corporation, successor in
lnterest to WHMS Braddock Hospital Corporation and Sacred Heart
Hospital of the Sisters of Charity, lnc.; WMHS Braddock Hospital
Corporation; and Sacred Heart Hospital of the Sisters of
Charity, Inc., as a physician, and had actual, express, implied,
ostensible and/or apparent authority to act on their behalf as

their agent, servant, and/or employee.

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11. Defendants: Western Maryland Health System
Corporation, successor in interest to WHMS Braddock Hospital
Corporation and Sacred Heart Hospital of the Sisters of Charity,
Inc.; WMHS Braddock Hospital Corporation; and Sacred Heart
Hospital of the Sisters of Charity, Inc., operated a hospitai
and/or medical care center located at 999 Seton Drive,
Cumberland, Maryland, 21502, known as WMHS and/or Western
Maryland Health System, Braddock Campus, also f/k/a Sacred Heart
Hospital and/or Braddocx Hospital.

l2. Defendants: Western Maryland Heaith System
Corporation, successor in interest to WHMS Braddock Hospital
Corporation and Sacred §eart Hospital of the Sisters of Charity,
inc.; WMHS Braddock Hospital Corporation; and Sacred Heart
Hospital of the Sisters of Charity, lnc.r are collectively
referred to herein as the “WMHS Defendants”.

13. Western Maryland Health System Corporation is the
successor in interest to WHMS Braddock Hospital Corporation and
Sacred Heart §ospital of the Sisters of Charity, Inc., WMHS
Braddock Hospital Corporation, and Sacred Heart Hospital of the
Sisters of Charity, Inc.

14. Pri@r to Aprii 13, 2009, Plaintirr, retrials collins
presented herself to Juan Arrisueno, M.D., and Juan Arrisueno,

M.D., P.A., with several episodes of right upper quadrant pain.

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Dr. Arrisueno diagnosed Ms. Collins with chronic cholecystitis
and cholelithiasis, and recommended surgery.

15. On or about April l3, 2809, Patricia Collins presented
herself to Juan Arrisueno, M.D., and the WMHS Defendants, for
laparoscopic cholecystectomy for cholecystitis and
cholelithiasis. Dr. Arrisueno performed the surgery upon Ms.
Collins, and encountered technical difficuity in that the fundus
of the gallbladder could not be elevated on top of the liver.
lt is noted in Dr. Arrisueno’ s operative report that “what
appeared to be the cystic duct, was clearly identified and
dissected and controlled with 2 proximal Ligaclips and l distal
Ligaclip and transected.”

16. During the procedure, it was realized that the common
bile duct had been transected, not the cystic duct. Dr.
Arrisueno completed the surgery, and ordered that Ms. Collins be
transferred to a health care facility with more expertise to
correct the bile duct injury.

17. That same day, Ms. Collins was emergently transported
to Ruby Memorial Hospital at WVE Healthcare. Immediate surgery
was contraindicated, as to allow time for the common bile duct

to dilate.

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18. On April 16, 2OG9 a Roux-en-Y choledochojejunostomy
and intraoperative cholangiogram were successfully performed at
Ruby Memoriai Hospital.

19. Ms. Collins remained at Ruby Memorial Hospital and was
discharged to home in stabie condition on April 29, 2009.

20. Ylaintiff underwent significant treatment following
her discharge and still has significant complaints to the
present time.

COUNT I
(Negligence)

Piaintiff, Patricia Collins, sues Defendants: Juan
Arrisueno, M.D.; Juan Arrisueno, M.D., P.A.; Western Maryland
Health System Corporation,r successor in interest to WMHS
Braddock Hospital Corporation and Sacred Heart Hospital of the
Sisters of Charity, Inc.; WMHS Braddock Hospital Corporation;
and Sacred Heart Hospital of the Sisters of Charity, inc.,

21. Plaintiff adopts and incorporates by reference
paragraphs 1 through 29 of this Complaint as if each was set
forth in full herein.

22. Defendants, Juan Arrisueno, M.D., Juan Arrisueno,
M.D., P.A., Western Maryland Health System Corporation,
successor in interest to WMBS Braddock Hospital Corporation and

Sacred §eart Hospital of the Sisters of Charity, lnc.; WRHS

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Braddock Hospital Corporation; and Sacred Heart Hospital of the
Sisters of Charity, Inc., and their agents, servants and
employees, owed a duty to the Plaintiff, Patricia Collins, to
exercise due care in their medical care and treatment of her.
The said Defendants breached their duty of care, and deviated
from the standard of care in the manner in which they, and/or
their agents, and/or servants, and/or employees provided care
and treatment to Patricia Collins, in that they:

a} Negligently performed the laparoscopic cholecystectomy
procedure upon Ms. Collins;

b) Failed to use appropriate procedures to correctly
identify the anatomy, and in particular, the common
bile duct;

c) Faiied to use appropriate procedures to correctly

perform Ms. Collins' cholecystectomy;

d} Negligently transected the Plaintiff's common bile
duct;
e) Failed to promptly and timely recognize that they had,

in error, injured Ms. Collins’ common biie duct; and,
f) Were otherwise negligent and deviated from the
standard of care in their care and treatment of

Patricia Collins.

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23. The Defendants’ negligence and deviations from the
standard of care as described abover proximately caused serious
injuries to the Plaintiff, including, but not limited to Ms.
Collins’ common bile duct being transected and Ms. Collins to be
otherwise injured and damaged.

24. As a result of the negligence and deviation from the
standard of care, and breach of duty of the Defendants, the
Plaintiff, Patricia Collins, was proximately caused to sustain
serious, painful, and permanent injuries and great mental
suffering. As a further result thereof, the Plaintiff has been
caused to incur,r and will in the future be caused to incur,
extensive medical and hospital care and treatment; has, is, and
will in the future be disabled which has caused and will
permanently continue to cause substantial loss of income; will
be permanently impaired in her income earning capacity; and was
otherwise injured and damaged.

25. The Plaintiff further alleges that the injuries and
damages herein complained of were proximately caused by the
negligence and want of care of the Defendants, Juan Arrisueno,
M.D., Juan Arrisueno, M.D., P.A., Western Maryland Health System
Corporation, successor in interest to WHMS Braddock Hospital
Corporation and Sacred Heart Hospital of the Sisters of Charity,

lnc.; WMHS Braddock Hospital Corporation; and Sacred Heart

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Hospital of the Sisters of Charity, lnc., without any negligence
on the Plaintiff’s part contributing thereto.

WHEREFORE, the Plaintiff, Patricia Collins, claims
compensatory damages against Sefendants, duan Arrisueno, M.D.,
Juan Arrisueno, M.D., P.A., Western Maryland §ealth System
Corporation, successor in interest to WHMS Braddock Hospital
Corporation and Sacred Heart Hospital of the Sisters of Charity,
lnc.; WMHS Braddock Hospital Corporation; and Sacred Heart
Hospital of the Sisters of Charity, lnc., in an amount in excess

of Seventy-Five Thousand Dollars ($?S,OO0.00).

JURY TRIAL DEMANBED

 

Respectfully submitted,

 

 

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/(/j////N//W

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Attorneys for Plaintiff

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